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EXHIBIT 7
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David Corrigan

From: David Corrigan

Sent: Thursday, May 12, 2011 10:27 AM
To: Robert H. Smailenberg

Ce: Telfair, Brian K. - City Attorney
Subject: RE: Friday

Rob—

As discussed yesterday morning, | am concerned enough about your failure to provide the Initial Disclosure or
responses to written discovery or to present your client for a deposition that | feel that | have no choice but to file a
Motion to Compel.

We have agreed that you will present your clients ~ both Ky’ss Burton and Sakia Hall — for a deposition on next
Friday May 20 beginning at noon at the City Attorney's office.
| will have my client present and ready to be deposed at the same time.

You have also promised that you will provide full and complete !nitial Disclosures and fully executed responses
to discovery by this Friday May 13.

Based on these representations, | am going to hold off on filing the Motion to Compel until 2:00 p.m. on Friday.
| hope that we can get these issues behind us and focus on the substance of the case.

Thanks.
David

David P. Corrigan

Harman, Claytor, Corrigan & Wellman, P.C.
P.O, Box 70280 EXHIBIT
Richmond, Virginia 23255 ~
Physical Address:
innsbrook Corporate Center /
4951 Lake Brook Drive, Suite 100
Glen Allen, Virginia 23060-6045
(804) 747-5200

{804) 762-8017

(804) 747-6085 - fax

email: dcorrigan@hccw.com

web-site: www.hcew,.com

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